       Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 1 of 18




                   UNITED STATES DISTRICT COURT
                          OF PUERTO RICO
                      CASE NO. 22-CR-00342-SCC

UNITED STATES OF AMERICA,
         Plaintiff,
v.

MARK T. ROSSINI,
         Defendant.


M OTION IN L IMINE TO E XCLUDE GOVERNMENT ’ S D ISCOVERY P RODUCTION 11 1

      Mark Rossini (“Mr. Rossini”), through undersigned counsels and

pursuant Fed. R. Crim. P. 16 and 26.2, Local Rule 116, the Due Process Clause

of the Fifth Amendment, the 6 th Amendment Right to Present a Defense, the

Jencks Act (18 U.S.C. § 3500), Brady v. Maryland, 373 U.S. 83, 87 (1963),

Giglio v. United States, 405 U.S. 150, 154 (1972), and Kyles v. Whitley, 514

U.S. 419, 432-434 (1995), moves to exclude the government’s latest discovery

production—Discovery Production 11—because despite being more voluminous

than all prior 10 discovery productions combined, the manner in which it has

been produced makes it virtually unreviewable and extremely difficult to

navigate. 2



1 Undersigned counsels understand this Motion is being filed the morning of a

status conference, and thus do not expect the government or the Court to have
an opportunity to fully review it. Undersigned counsels have discussed this
with the government and have agreed not to argue the motion until the
government has an opportunity to review it.
2 To attempt to review Discovery Production 11, Mr. Rossini contracted an E-

Discovery expert, Mike Russo (CEDS). Mr. Russo’s CV is attached as Exhibit

                                     1
         Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 2 of 18



               Discovery Produced                            Size
             Productions 1-10               At least 1,182,144 pages
             Production 11                  At least 1,414,593 pages 3




        To put this into perspective, if a single lawyer were to dedicate 50 hours

 a week to review Discovery Production 11, spending just one minute on each

 page, it would take approximately nine years just to get a basic understanding

 of what is included. If two lawyers were to work on it, each spending only 30

 seconds per page and working the same hours, it would still take about two

 years to conduct a preliminary review of this new batch of evidence. To put it

 simply, Discovery Production 11 is an unmitigated disaster.

                                                                    Weeks
 Discovery Production 11        Minutes          Hours                            Years
                                                              (@ 50 hours/Week)
1 attorney @ 1 minute/page      1,414,593        23,576              471            9
1 attorney @ 30 seconds/page     707,296         11,788              235           4.5
2 attorneys @ 1 minute/page      707,296         11,788              235           4.5
2 attorneys @ 30 seconds/page    353,648          5,894              117           2.2

        The non digital/paper age equivalent of what the government has just

 done and tried to pass off as a discovery “production” would be if the



 A, and his Affidavit as Exhibit B (“Russo Affidavit”). Relevant here, Mr.
 Russo is a former Information Technology Specialist at the United States
 Attorney’s Office.
 3 Note: as explained below, the actual page count may exceed 10,000,000

 pages.


                                                2
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 3 of 18




government opened a conference room filled with hundreds of banker’s boxes

of the defendants’ records, family pictures and unopened mail, and invited

defense counsels to inspect it, where the boxes were mislabeled or not labeled

at all, not indexed, and the documents inside were out of order.

                          R ELEVANT B ACKGROUND

      The relevant events in this case occurred between January and August

2020—during the height of the COVID-19 pandemic. Unsurprisingly, the

individuals involved in the alleged criminal conspiracy mostly communicated

via phone calls, text messages, and emails. Any alleged plot to bribe Governor

Vazquez would surely be documented in at least some of the communication

between the dozens of individuals involved in this case. The importance of the

Electronically Stored Information (“ESI”) found in the dozens of phones the

FBI collected and extracted in this case cannot be overstated.

      Despite the obvious importance of the ESI in this case, the government

has yet to produce a single searchable phone extraction. Instead, it has

produced millions of unsearchable and disorganized screenshots of text

messages.

      This is not to say that the government has been resting on its laurels.

Indeed, it has spent the last 17 months peppering defense counsels with

millions of unsearchable and disorganized documents. The government’s

discovery log is 37 pages long, and there have been over 11 separate

productions containing over 10 million pages. Appearances, however, can be



                                      3
           Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 4 of 18




     deceiving. The government’s leaky faucet approach to discovery production has

     resulted in a drip drip drip of evidence that is mostly undecipherable,

     disorganized, mislabeled, and unsearchable.

                              D ISCOVERY P RODUCTION 11

I.      T HE L ARGEST AND M OST D ISORGANIZED P RODUCTION TO D ATE .

           Discovery Production 11 was produced in the 'database load file' format,

     a method recognized and utilized in legal contexts for managing electronic

     information. However, despite this format being a standard in the legal

     industry, it permits a considerable degree of variation in how the information

     is processed and ultimately presented to the reviewer. This variability

     significantly hinders the review process, whether one is examining the data in

     its presented order or otherwise.

           The organization and production methodology used for Discovery

     Production 11 are particularly deficient. This has resulted in a dataset that is

     so poorly structured that even the most advanced Artificial Intelligence (AI)

     technologies would be unable to effectively navigate or analyze it. This

     situation presents a classic example of the pitfalls of improper electronic

     information management in legal discovery, showcasing the need for more

     stringent standards and oversight in ESI production.

           Discovery Production 11 was produced on a BitLocker encrypted hard

     drive. Upon decryption, there are two (2) folders:




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             Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 5 of 18




            Each folder included the standard structure of files/folders that replicate

      a production of ESI in “database load file” format.

                  Part 1 – 692,479 Documents – 925,267 Pages* - 218GB

                  Part 2 – 426,356 Documents – 489,327 Pages* - 169GB 4

            The page count provided in the report does not accurately represent the

      actual amount of information produced. This discrepancy arises because the

      report often includes extra pages that are used to separate larger documents

      or those in a specific preferred format, leading to a total page count that

      is significantly higher than initially reported. Additionally, the method

      used by the government to calculate the page count is misleading. It counts

      the number of TIFF image files, which does not always correspond to the

      number of actual document pages. For instance, a single entry in the

      production, labeled as DOJ-0001189367, is noted as having one page

      according to its file details. However, this entry is actually a placeholder for a

      much larger document, a PDF file that contains 81,861 pages of data

      extracted from a device known as the 'Blakeman' device. 5

II.      W OEFULLY D EFICIENT M ETADATA .

            Discovery Production 11 is also missing important metadata fields.

      Metadata fields are crucial in the production of ESI during criminal cases.


      4 See Russo Affidavit, p. 2.
      5 See Russo Affidavit, p. 4.



                                              5
       Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 6 of 18




First, metadata provides essential contextual information about a document

or file, such as its creation date, author, modification history, and location

data. This context can be vital in establishing the timeline and authenticity of

evidence, helping to determine its relevance and credibility. Second, metadata

facilitates efficient organization and searchability of large volumes of data. In

complex criminal cases, where the volume of ESI can be overwhelming, having

sortable and searchable metadata enables legal teams to quickly locate

pertinent information, thereby streamlining the review process. Third,

metadata can sometimes reveal information that isn't apparent in the

document content itself, such as the original author of a document or the path

of its transmission, which can be critical in proving the chain of custody or

uncovering hidden connections.

      Here, Discovery Production 11 consistently omits important metadata

fields. For example 6:

      1. DOJ-0001187148 – a 6,132-page Native PDF of what appears to be

         “Blakeman” WhatsApp Communications. The metadata contains

         blank entries for Custodian, From, To, and File Name. In addition to

         the missing fields, the page count field is 1.

      2. DOJ-0001187286 – a 11,217-page Native PDF of what appears to be

         “Blakeman” WhatsApp communications. The metadata provided




6 See Russo Affidavit, pp. 7-11.



                                        6
Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 7 of 18




  contains blank entries for Custodian, From, To, and File Name. In

  addition to the missing fields, the page count field is 1.

3. DOJ-0001188765 – a 3,297-page Native PDF of what appears to be

  “Blakeman” WhatsApp Communications. The metadata provided

  contains blank entries for Custodian, From, To, and File Name. In

  addition to the missing fields, the page count field is 1.

4. DOJ-0001189367 – an 81,861–page Native PDF of what appears to

  be “Blakeman” WhatsApp communications. The metadata provided

  contains blank entries for Custodian, From, To, and File Name. In

  addition to the missing fields, the page count field is 1.

5. DOJ-0002316406 – a 665-page Text File Containing 20,827 Lines

  (All of these communications are also separately provided as DOJ-

  0002317071 - DOJ-0002333955 as (16,707 individual files with no

  metadata).

6. DOJ-0001189102 – Placeholder – No File Name – Insufficient

  Metadata – contains 11.7 million characters and 396,000 rows of

  important WhatsApp communications.

7. DOJ-0001207505 – a 3,465-page PDF similar to the others that had

  placeholders previously, but this document did not contain a

  placeholder and instead was fully imaged. The metadata provided

  contains blank entries for Custodian, From, To, and File Name. In

  addition to the missing fields, the page count field is 3,465.




                                7
             Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 8 of 18




             Ultimately, the page count provided in the metadata fields is inaccurate

       and the findings of irregular placeholders and system files that were produced

       suggest that the actual page count may exceed 10,000,000. Additionally,

       some important files were hidden. DOJ-0001188765 is the same type of

       document (with less pages) as DOJ-0001207505, yet it was processed with a

       placeholder (one page). It is uncommon to placeholder PDF files. Out of the

       approximately 1,118,835 (1,414,594 pages) documents produced, only 27 (160

       pages) are fairly produced in terms of format (bare minimum). 7

III.      T HIS M ANNER OF P RODUCTION WILL S ERIOUSLY C OMPROMISE M R .
          R OSSINI ’ S C ONSTITUTIONAL R IGHTS .

             Discovery Production 11 casts significant doubt on the government's

       adherence to its mandatory disclosure obligations as outlined in Rule 16, along

       with the established legal precedents of Brady and Giglio. It is clear, however,

       that the manner in which the government has produced voluminous records

       from electronic sources in this case, including phone extractions, hard drive

       extractions, and dozens of subpoena returns received from Google, Apple, Meta

       (WhatsApp), and other internet service providers, phone providers, and cloud

       storage providers, does not comply with Rule 16, Brady, or Giglio. Ultimately,

       the manner in which the government has produced discovery ensures that Mr.

       Rossini’s constitutional rights to Due Process and Present a Defense will be

       seriously compromised at trial.




       7 See Russo Affidavit, pp. 5-6.



                                              8
        Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 9 of 18




       The government cannot hide exculpatory evidence in an undecipherable

mass of information. For the first time in 17 months, defense counsel learned

of a set of “hot documents” when the government mentioned them in its status

report from December 22, 2023. [D.E. 435, p. 3]. 8 The existence of these

documents was never highlighted to defense counsels and is thus a clear

violation of this Court’s Rule 5 order, [D.E. 85], Brady v. Maryland, 373 U.S.

83     (1963)   and   its   progeny,   and   Fed.   R.   Crim.   P.      5.   The

government's disclosure obligations involve not only a substantive, but also a

temporal element. United States v. De La Cruz-Feliciano, 786 F.3d 78, 87 (1st

Cir.      2015) (“Brady also      applies     in     cases       where        the

government delays disclosure of relevant evidence”). Upon closer inspection,

these hidden documents clearly contain exculpatory evidence:




8 Equally troubling, the government's acknowledgment in its status report that

members of the prosecution team selected a set of "hot documents" before
implementing the filter review [D.E. 435, p. 3] brings into question whether
the entire prosecution team should be recused for having accessed this
evidence before a filter/taint team was put in place.


                                        9
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 10 of 18




                             T HE D ISCOVERY R ULES

      Inherent to Criminal procedure are certain constitutional liberty and

due process interests, see generally U.S. Const. Amend. IV, V, VI, VIII. The

Federal Rules of Criminal Procedure, “are to be interpreted to provide for the

just determination of every criminal proceeding, to secure simplicity in

procedure and fairness in administration, and to eliminate unjustifiable

expense and delay,” Fed. R. Crim. P. 2. The Rules were established to prevent

“trial by ambush”. United States v. Noe, 821 F.2d 604, 608 (11th Cir. 1987).

The government’s manner of producing discovery in this case, particularly

production # 11, virtually ensures that will happen here.

      Federal Rule of Criminal Procedure 16 governs discovery in criminal

cases. That rule requires the government to produce a defendant’s statement,

in particular any written or recorded statement by the defendant in the

government’s possession, custody, or control that are known by the United

States Attorney to exist, Fed. R. Crim. P. 16(a)(1)(B)(i). Other statutes, rules,

and caselaw direct the government (and in some instances due to reciprocal

discovery, the defendant) to produce other types of discovery. These are well

known motions in a defense omnibus motion (for example, production of Brady

and Giglio materials, Jencks Act materials and the timing of their production

relative to the start of the trial or the testimony of a witness). The focus of this

rule (and the others) is the type of records that the government needs to




                                        10
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 11 of 18




produce rather than the manner of its production or the forms in which those

records may be retained.

      Here, the government has produced documents in a manner which

makes it virtually impossible to identify the source, timestamp, datestamp,

and custodian of most of the documents. Millions of pages are disorganized

and unsearchable, and file names and locations provide unhelpful information

as to their contents. Like Russian nesting dolls, there are seemingly never-

ending layers of files and folders, making a review of the production virtually

impossible.

      The government’s discovery log is similarly unhelpful. Despite Discovery

Production 11 being the largest production to date, the government’s discovery

log fails to reasonably and fairly attempt to describe its contents:




      For example, the last three items on the list contain 811,634 pages,

200,198 pages, and 345,088 pages respectively. The pages are in different

formats and out of order and contain virtually no metadata. There are

hundreds of pictures of Governor Vazquez with her family and friends. In

addition to the high ‘page count,’ there are at least 17,000 video files totaling


                                       11
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 12 of 18




at least 160 hours; 12,000 audio files totaling at least 172 hours. With no

relevant metadata fields provided, it is impossible to find a strategic starting

point for review. Finding any relevant piece of evidence within those

productions is akin to finding a needle in a haystack. The government is in a

better position than the defense to organize this mass of information and

present it in a manner that is searchable and identifiable. Here, the

government has utterly failed.

      While there is no express ESI regime, for criminal cases, United States

v. O’Keefe, 537 F.Supp.2d 14, 18-19 (D.D.C.2008) (Facciola, Mag. J.); Daniel B.

Garrie and Daniel K. Gelb, E–Discovery in Criminal Cases: A Need for Specific

Rules, 43 Suffolk U.L.Rev. 393, 399–400 (2010), many courts have adopted the

standard of Federal Rule of Civil Procedure 34(b)(2)(E)(ii)—which does

address the standard for production of ESI—and found that, “the standard

of Federal Rule of Civil Procedure 34(b)(2)(E)(ii) should apply here, that is the

government produces this ESI “in a reasonably usable form or forms.”

While Rule 34(b)(2)(E) notes options for production as documents “are kept in

the usual course of business,” Fed. R. Civ. P. 34(b)(2)(E)(i)” United States v.

Briggs, No. 10CR184S, 2011 WL 4017886 (W.D.N.Y. Sept. 8, 2011)

      In United States v. Stirling, Case No. 1 :11-cr-20792-CMA (S.D. Fla.

June 5, 2012), the government seized the defendant’s computer pursuant to a

search warrant and provided the defendant with a forensic copy of the hard

drive. Before trial, an FBI analyst performed a forensic examination of the




                                       12
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 13 of 18




hard drive, determined that the defendant had “chatted” with his co-

defendants via Skype, extracted that information from the hard drive, and

converted it into text format, which totaled 214 pages. According to the court,

this information was “not readily available by opening the folders appearing

on the hard drive.” The government did not provide the Skype evidence to the

defendant before trial in text format and did not use it in its case-in-chief. It

did, however, notify the defendant that there was evidence on the hard drive

that it would use to impeach him if he testified. The defendant testified, and

in rebuttal the government used the text-format Skype chat log to impeach his

testimony. In the court’s view, “[p]roduction of something in a manner which

is unintelligible is really not production,” noting that the log “had a

devastating impact” and “irreparably damaged [defendant’s] credibility and

his duress defense.” Id. at 2. Following the jury’s guilty verdict, the court

granted a new trial under Rule 33 “in the interest of justice.”

      To help prosecutors and defense attorneys cope with the new challenges

of electronic information, the Department of Justice developed a set of best

practices for ESI discovery management in collaboration with the Office of

Defender Services (ODS), Federal Defender Organizations (FDO), private

attorneys   who    accept   Criminal     Justice   Act   (CJA)    appointments,

representatives of the Administrative Office of United States Courts, and

liaisons from the United States Judiciary.




                                       13
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 14 of 18




      On February 13, 2012, the new Criminal ESI Discovery Protocol

(Protocol) 9 was simultaneously issued by Deputy Attorney General James Cole

on behalf of the Department, and representatives of ODS, FDO, CJA, as well

as the federal judiciary.

      The Protocol aims to achieve multiple objectives: streamline the process

of discovery after indictment for both the government and criminal

defendants, minimize expenses for both parties, enhance dialogue between

prosecutors and defense attorneys regarding ESI discovery matters, prevent

unnecessary pretrial disputes related to ESI discovery, establish consistent

best practices for common issues, and safeguard the confidentiality of sensitive

data disclosed during discovery.

      The Protocol, for example, explicitly states that a table of contents has

several key benefits in complex cases involving large quantities of ESI:

      If the producing party has not created a table of contents prior to
      commencing ESI discovery production, it should consider creating
      one describing the general categories of information available as
      ESI discovery. In complex discovery cases, a table of contents to
      the available discovery materials can help expedite the opposing
      party’s review of discovery, promote early settlement, and avoid
      discovery disputes, unnecessary expense, and undue delay.

Protocol, Strategies and Commentary at 2.




9 Department  of Justice and Administrative Office of The U.S. Courts Joint
Working Group on Electronic Technology in the Criminal Justice System,
Recommendations for Electronically Stores Information (ESI) Discovery
Production    in    Federal    Criminal     Cases   (2012),   available  at
https://www.justice.gov/archives/dag/page/file/913236/download.


                                      14
       Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 15 of 18




       The Protocol cites United States v. Skilling, 554 F.3d 529, 577 (5th Cir.

2009), as a key reference. In that case, the Fifth Circuit examined the

government’s obligations under Brady in relation to an ESI (Electronically

Stored Information) database that spanned hundreds of millions of pages.

Despite the vast size of the discovery provided by the government in Skilling,

it was in a digital, searchable format. Additionally, the government

highlighted a collection of key documents and indices. The court dismissed

Skilling’s argument that the government should have identified and provided

exculpatory evidence from this extensive discovery, reasoning that the

government was not more equipped than Skilling to locate such evidence. The

decision, as stated at Id. at 577, is in line with similar judgments by other

courts in cases where the government supplied searchable ESI discovery

materials. See, e.g., United States v. Warshak, 631 F.3d 266, 297 (6th Cir. 201

O); United States v. Ohle, 2011 WL651849, at 4 (S.D.N.Y. Feb. 7, 2011). The

Skilling court went on to state “it should go without saying that the

government may not hide Brady material of which it is actually aware in a

huge open file in the hope that the defendant will never find it.” 554 F.3d at

577.

       The Protocol advises that ESI obtained from external sources like banks,

mortgage companies, and telecommunications providers should be shared in

its original form or in a “reasonably usable form,” echoing the language of

Federal Rule of Civil Procedure 34(b)(2)(E)(ii). For instance, emails that are




                                       15
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 16 of 18




received in their native format can be shared as such or converted to other

formats like searchable PDFs, or TIFF images accompanied by OCR text and

a “load file.” The Protocol defines a load file as a tool for importing images or

data into databases, emphasizing that load files must be compatible with

specific software formats for effective use by the recipient. Protocol, at 21.

      Here, perhaps the most troubling finding of the Russo Affidavit is that

Discovery Production 11 itself suggests that the government could have

produced it in a much more usable form:

      Discovery 11 includes at least 684,595 documents with a “FILE
      PATH” showing ”.ufdr” as the attendant file type, as well as
      various different “extraction reports” from Cellebrite and Axiom.
      This suggests that most of this production can be produced in a
      much more useable and efficient format – UFDR native format. 10

      The government here, unlike in Skilling, has failed to produce Discovery

Production 11 in any kind of searchable format. Discovery Production 11 is

neither searchable nor organized in any discernible manner. The manner in

which the government has produced Discovery Production 11 is no different

than attempting to drink water through a firehouse. It is simply unreviewable.

                                 C ONCLUSION

      The danger associated with the government’s failure to provide

searchable discovery cannot be overstated. The inability to search through

millions of documents makes it exceedingly difficult to find relevant, let alone

exculpatory, evidence. Now, weeks from a possible trial date, the government’s



10 See Russo Affidavit, p. 4.



                                       16
         Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 17 of 18




11 th discovery production is beyond the pale and should be excluded from the

trial.

         WHEREFORE, Mr. Rossini requests that this Court grant his Motion

to Exclude the government’s latest discovery dump.

                                       Respectfully submitted,

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                          CERTIFICATE OF SERVICE
         I certify that on January 16, 2024, I electronically filed the foregoing


                                        17
      Case 3:22-cr-00342-SCC Document 453 Filed 01/16/24 Page 18 of 18




document with the Clerk of the Court using CM/ECF, causing a copy to be

served on counsel of record.

                                              /s/ Juan J. Michelen
                                              Juan J. Michelen




                                    18
